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 6

 7                                    UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
 8                                          WESTERN DIVISON

 9                                                              Case No. 2:19-cv-00752
10
                                                                COMPLAINT FOR DAMAGES
              ALEX R. UNGERMAN,
11
                                                                1. VIOLATION OF THE TELEPHONE
12                            Plaintiff,
                                                                CONSUMER     PROTECTION      ACT
                   v.                                           PURSUANT TO 47 U.S.C. § 227.
13

14            FIRST ENTERTAINMENT CREDIT                        2. VIOLATION OF THE ROSENTHAL
              UNION,                                            FAIR DEBT COLLECTION PRACTICES
15                                                              ACT, CAL. CIV. CODE § 1788 ET SEQ.
                              Defendant.
16                                                              JURY TRIAL DEMANDED
17
                                                    COMPLAINT
18
                  NOW COMES, ALEX R. UNGERMAN (“Plaintiff”), through his counsel, WAJDA LAW
19
         GROUP, APC, complaining as to the conduct of FIRST ENTERTAINMENT CREDIT UNION
20
         (“Defendant”), as follows:
21

22                                                 NATURE OF THE ACTION

23             1. Plaintiff brings this action seeking redress for violations of the Telephone Consumer
24       Protection Act (“TCPA”) pursuant to 47 U.S.C. §227 and violations of the Rosenthal Fair Debt
25
         Collection Practices Act (“RFDCPA”) pursuant to Cal. Civ. Code §1788.
26
                                                  JURISDICTION AND VENUE
27
               2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
28
                                                            1                                              


           
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 1            3. Subject matter jurisdiction is conferred upon this Court by the TCPA and 28 U.S.C. §§1331
 2       and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists
 3
         for the state law claim pursuant to 28 U.S.C. §1367.
 4
              4. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business
 5
         in the Central District of California, Plaintiff resides in the Central District of California, and a
 6

 7       substantial portion of the events or omissions giving rise to the claims occurred within the Central

 8       District of California.

 9                                                           PARTIES
10            5. Plaintiff is a natural person over 18-years-of-age who is a “person” as the term is defined
11
         by 47 U.S.C. §153(39).
12
              6. Defendant is a financial services company. Defendant’s principle office is located at 6735
13
         Forest Lawn Drive, Hollywood, California 90068.
14

15                                           FACTS SUPPORTING CAUSE OF ACTION

16            7. Prior to the conduct giving rise to this action, Plaintiff obtained a personal loan (“subject

17       debt”) from Defendant.
18            8. Plaintiff was making tamely payments on the subject debt until he could no longer afford
19
         paying the subject debt, resulting in default.
20
              9. In or around December 2018, Plaintiff began receiving calls to his cellular telephone
21
         number (323) XXX-1624 from Defendant.
22

23            10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, possessor,

24       and operator of his cellular telephone ending in 1624.

25            11. On December 14, 2018, Plaintiff received a phone call to his cellular phone from Defendant.
26
         Upon answering. Defendant repeatedly requested that Plaintiff make a payment on the subject debt.
27
         In response, Plaintiff requested that Defendant stop calling him and if it needed any information to
28
                                                              2                                                        


           
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 1       contact his attorney.
 2            12. Plaintiff’s demands that Defendant’s phone calls cease fell on deaf ears and Defendant
 3
         continued its phone harassment campaign.
 4
              13. Notwithstanding Plaintiff’s requests that Defendant’s calls cease, Defendant placed or
 5
         caused to be placed numerous harassing calls to Plaintiff’s cellular telephone between December
 6

 7       2018 and present day.

 8            14. In the calls that Plaintiff answered, Plaintiff was greeted by a noticeable period of “dead

 9       air” while Defendant’s automated telephone system attempted to connect Plaintiff to a live agent.
10
              15. Specifically, there would be an approximate 2 second pause between the time Plaintiff said
11
         “hello,” and the time that a live agent introduced them self as a representative of Defendant.
12
              16. Moreover, Plaintiff also heard what sounds to be call center noise in the background of
13
         Defendant’s phone calls.
14

15            17. Upon information and belief, Defendant placed its calls to Plaintiff’s cellular telephone

16       using an automated telephone dialing system that is commonly used in the debt collection industry
17       to collect defaulted debts.
18
              18. The phone number that Defendant most often used to contact Plaintiff is (323) 845-4448,
19
         but upon information and belief, it may have used other phone numbers to place calls to Plaintiff’s
20
         cellular telephone.
21

22                                                        DAMAGES

23
              19. Defendant’s unfair and harassing conduct has severely disrupted Plaintiff’s daily life and
24
         general well-being.
25

26            20. Plaintiff has expended time consulting with his attorneys as a result of Defendant’s

27       unconscionable conduct.
28
                                                            3                                                    


           
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 1            21. Defendant’s phone harassment campaign and illegal collection activities have caused
 2       Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance, intrusion upon and
 3
         occupation of Plaintiff’s cellular telephone capacity, wasting Plaintiff’s time, increased risk of
 4
         personal injury resulting from the distraction caused by the phone calls, aggravation that
 5
         accompanies unsolicited debt collection calls, harassment, emotional distress, anxiety, loss of
 6

 7       concentration, diminished value and utility of his telephone equipment and telephone subscription

 8       services, debilitating Plaintiff’s voicemail capacity, the wear and tear caused to his cellular

 9       telephone, the loss of battery charge, the loss of battery life, and the per-kilowatt electricity costs
10
         required to recharge his cellular telephone as a result of increased usage of his telephone services.
11
                  COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
12
              22. Plaintiff restates and realleges paragraphs 1 through 22 as though fully set forth herein.
13
              23. Defendant placed or caused to be placed numerous non-emergency calls, including but not
14

15       limited to the calls referenced above, to Plaintiff’s cellular telephone using an automatic telephone

16       dialing system (“ATDS”) without his prior consent in violation of 47 U.S.C. §227 (b)(1)(A)(iii).
17            24. The TCPA defines ATDS as “equipment which has the capacity...to store or produce
18
         telephone numbers to be called, using a random or sequential number generator; and to dial such
19
         numbers.” 47 U.S.C. §227(a)(1).
20
              25. Upon information and belief, based on the lack of prompt human response during the phone
21

22       calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s cellular

23       telephone.

24            26. Upon information and belief, the ATDS employed by Defendant transfers the call to a live
25       agent once a human voice is detected, thus resulting in a pause after the called party speaks into the
26
         phone.
27
              27. Defendant violated the TCPA by placing numerous harassing phone calls to Plaintiff’s
28
                                                             4                                                      


           
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 1       cellular telephone from December 2018 through the present day, using an ATDS without his prior
 2       consent.
 3
              28. Any prior consent, if any, was revoked by Plaintiff’s verbal revocations.
 4
              29. As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his cellular
 5
         telephone.
 6

 7            30. Upon information and belief, Defendant has no system in place to document and archive

 8       whether it has prior consent to contact consumers on their cellular phones.

 9            31. Upon information and belief, Defendant knew its collection practices were in violation of
10
         the TCPA, yet continued to employ them to increase profits at Plaintiff’s expense.
11
              32. Defendant, through its agents, representatives, vendors, subsidiaries, third party contractors,
12
         and/or employees acting within the scope of their authority acted intentionally in violation of 47
13
         U.S.C. §227(b)(1)(A)(iii).
14

15            33. Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum of

16       $500.00 per call. Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing
17       violations of the TCPA should trigger this Honorable Court’s ability to triple the damages to which
18
         Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).
19
         WHEREFORE, Plaintiff ALEX R. UNGERMAN respectfully requests that this Honorable Court:
20

21               a. Declare that the practices complained of herein are unlawful and violate the
                      aforementioned statute;
22
                 b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
23
                      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
24               c. Enjoining Defendant from contacting Plaintiff; and
25               d. Award any other relief as the Honorable Court deems just and proper.
26
                COUNT II – VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
27
              34. Plaintiff restates and realleges paragraphs 1 through 33 as though fully set forth herein.
28
                                                             5                                                       


           
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 1            35. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
 2            36. The alleged subject debt is a “debt” and “consumer debt” as defined by Cal. Civ. Code §
 3
         1788.2(d) and (f).
 4
              37. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
 5
                       a. Violation of Cal. Civ. Code § 1788.11(d)
 6

 7            38. The RFDCPA, pursuant to Cal. Civ. Code § 1788.11(d), states that a debt collector may not

 8       cause “a telephone to ring repeatedly or continuously to annoy the person called.”

 9            39. Defendant violated the RFDCPA when it continuously called Plaintiff’s cellular telephone
10
         after he notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s
11
         cellular telephone despite his demands was done with the purpose of annoying Plaintiff into paying
12
         the subject debt.
13
              40. Moreover, Defendant was told clearly to stop calling Plaintiff’s cellular telephone.
14

15            41. Defendant disregarded these requests, and continued its calls to Plaintiff, with the goal of

16       annoying Plaintiff into paying the subject debt.
17                     b. Violations of RFDCPA § 1788.11(e)
18
              42. The RFDCPA, pursuant to Cal. Civ. Code § 1788.11(e), states that a debt collector may not
19
         communicate “by telephone or in person, with the debtor with such frequency as to be unreasonable
20
         and to constitute a harassment to the debtor under the circumstances.”
21

22            43. Defendant violated the RFDCPA when it continuously called Plaintiff’s cellular telephone

23       after he notified it to stop calling. This repeated behavior of systematically calling Plaintiff’s

24       cellular telephone despite his demands was unreasonable and harassing. The repeated contacts were
25       made with the hope that Plaintiff would succumb to the harassing behavior and ultimately make a
26
         payment. The frequency and volume of calls, shows that Defendant willfully ignored Plaintiff’s
27
         pleas with the intent of harassing him.
28
                                                            6                                                     


           
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 1            44. Furthermore, Defendant relentlessly contacted Plaintiff numerous times. Placing such
 2       voluminous calls in short succession constitutes conduct that is unreasonable and harassing in an
 3
         attempt to harass Plaintiff into making payment in violation of the RFDCPA.
 4
              45. Upon being told to stop calling, Defendant had ample reason to be aware that it should cease
 5
         its harassing campaign of collection phone calls. Nevertheless, Defendant consciously chose to
 6

 7       continue placing calls to Plaintiff’s cellular telephone.

 8       WHEREFORE, Plaintiff ALEX R. UNGERMAN respectfully requests that this Honorable Court:

 9               a. Declare that the practices complained of herein are unlawful and violate the
10                   aforementioned statute;

11               b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
                 c. Award Plaintiff statutory damages, pursuant to Cal. Civ. Code § 1788.30(b);
12
                 d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal. Civ.
13
                     Code § 1788.30(c); and
14
                 e. Award any other relief as the Honorable Court deems just and proper.
15

16                                          DEMAND FOR JURY TRIAL
17
                 Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
18
         this action so triable of right.
19
         Date: January 31, 2019                                        Respectfully submitted,
20

21

22                                                                     By: /s/ Nicholas M. Wajda

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